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UNITED STA TES DISTRICT COURT

   

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I\’obert R. Di Trolio, Clerk Depu!y-iu-Charge
242 F ederal Building U.S. Counhouse, Room 262
167 N. Main Street 111 Soaih Highlaad A venue
Memphis, Teuuessee 38103 lockson, Te.'messee 38301
(901) 495-1200 (73]) 421-9200

 

NOTICE OF SETTING
Before Judge Tu M. Pham, United States Magistrate Judge

 

May 24, 2005

RE: 05-2351-Ma!P
Frcd Perry Von Hofe v. MLG&W

Dear Sir/Madam:

A SCHEDULING CONFERENCE pursuant to Rule lé(b) of the Fedcral Rules of Ci vii Procedure
has been SET on THURSDAY, JULY 7, 2005 at 9:30 A.M. in Courtroom 6, on the 3"’ floor of the
F ederal Building, Memphis, Tennessee, before Magistrate Judge Tu M. Pham, Please see attached
Instructions.

Please submit a joint proposed Scheduling {)rder to Judge Pham's chambers three (3) days before
the date of the conference If the orderis approved, the conference will be canceled and you Wi]] be notified
If you are not notified prior the scheduling conference that your order has been approved, then counsel must
appear at the conferencel

Out-of-towa counsel may appear in person or via lelephoae. l_'f counsel wish to participate via
telephone advance written notice, including the telephone number where you can be reached, must be
submitted to Magistrate Judge Pham’s chambers within three (3) business days prior to the hearing.

If you would like the model order e-mailed to you, or if you have any questions, please contact
Beverly Gerken, Secretary to Magistrate Judge Tu M. Pharn at 901~495-1351.

Sincere]y,

ROBERT R. DI TROLIO, CLERK

W

BY: Jean Lee, Casc Manager to Judge Mays

Attachrnent 4/

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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Office of the Clerk

 

 

INSTRUCTIONS CONCERNING
RULE l€(b) SCHEDULING CONFERENCE

 

 

I. DUTY TO NOTIFY

Since this scheduling conference may be set before the
defendant{s] has been served or has appeared in the case, counsel
for the plaintiff is responsible for notification of defendant[s]
or defendant[s]' counsel of the setting of the first Rule l6(b)
Conference. If plaintiff's counsel is unable to notify the
defendant[s] or defendant[s]' counsel, then plaintiff’s counsel
shall, at least two (2) working days prior to the scheduled Rule
lG{b) Conference, so notify the Court.

II. DUTY TO CONFER

Prior to the scheduling conference, counsel are required to
consult regarding schedules for completion of discovery, filing of
motions, trial and pretrial activities and other matters addressed
in these instructions.

III, ATTENDANCE REQUIRED

The attendance of all unrepresented parties and lead trial
counsel for each represented party is required at the scheduling
conference; the unrepresented parties and counsel must be prepared
to address any pending motions or notions which may be raised
orally at the conference. Failure to appear may result in the
imposition of sanctions, (See I VII.)

Out-of-town counsel may request permission from the magistrate
judge to handle the conference by telephone, provided the request

 

 

is made within seven (7) days of the date of this letter. The
request must be made in writing and, must include names and
telephone numbers of all parties. The conference call for the

 

scheduling conference will be initiated by the judge's chambers.

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IV. lNITIAL DISCLOSURE

Fed.R.Civ.P. Rule 26(a)(l) a (2) and Rule 26lf) will be
enforced. Therefore, in accordance with Fed.R.Civ.P. 26(f), the
parties shall, at least 14 days prior to the Rule lé(b) scheduling
conference, meet for discussions in accordance with Rule 26(f) and
for the purpose of preparing a ;moposed discovery plan. The
parties shall file a written report outlining the proposed
discovery plan at least 4 days prior to the first conference.
Counsel should refer to Form 35, Appendix of Forms to Fed.R.Civ.P.,
for a checklist of items to be discussed at the Rule 26(£) meeting
and included in the written report. Moreover, with in lO days of
the 26(f) meeting (i.e. at least 4 days prior to the scheduling
conference), the partiesl shall make disclosure pursuant to Rule
26(a)(l) without formal discovery requests. Counsel are further
advised that, absent any agreement of the parties, no formal
discovery demand may issue pending the meeting under Rule 26(f).
Unless the parties stipulate otherwise, the number of
interrogatories will be limited to 25 in accordance with
Fed.R.Civ.P. 33, and the number of depositions will be limited to
ten in accordance with Fed.R.Civ.P. 30.

V. REQUEST FOR EXEMPTION FROM RULE 26

Counsel or parties wishing to request that they not be
required to comply with provisions of Rule 26(a) or (f) of the
Federal Rules of Civil Procedure, must adhere to the following
procedure in making the request. Requests are to be made by motion
in writing in compliance with local rules of this court. Requests
for exemption from the disclosure provisions of Rule 26(a) must be
made at least ten days before the date disclosure is required by
the rule. Requests for exemption from the Rule 26(f) meeting
requirements must be made at least seven days before the date
scheduled for the meeting or, if the parties have scheduled no
meeting, at least twenty-one days before the date of the scheduling
conference.

VI. SUBJECTS AT CONFERENCE

Generally, at the scheduling conference, the following
subjects will be addressed:

l. The status of the case, the general nature of the claims and
defenses, issues in the case, and potential use of experts;

 

lExcept for parties in pro se prisoner litigation.

Page -2*

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2. Jurisdictional and statute of limitations issues lall
jurisdictional questions or timeliness questions should be
reviewed in advance of the scheduling conference and, if
motions have not already been filed, the Court should be
advised at the scheduling conference that there are
preliminary matters which require early disposition),-2

3. Setting of all deadlines for filing preliminary motions, the
establishment of all deadlines for discovery (including
disclosure of expert witness information where appropriate),
the establishment of final deadlines for filing' pretrial
motions (including all motions for summary judgment),joining
parties, amending pleadings,the establishment of pretrial
conference and trial dates, and the establishment of any other
appropriate deadlines. The court expects to set a definite
trial date for this case which does not conflict with criminal
case settings. The trial date will be consistent with the
particular' needs of this case and raill be no later‘ than
eighteen months from the date of filing, unless the court
certifies that the Court's calendar does not so permit or the
complexity of the case requires a later setting.

4. The desire of the parties to consent to all further
proceedings in the case being handled by the magistrate judge
in accordance with 28 U.S.C. § 636(c) (including entry of

final judgment, with any appeal directly to the Sixth Circuit
Court of Appeals);

5. The possibility of settlement, your position regarding
settlement, and the desire of the parties to utilize
alternative dispute resolution, including the court~annexed
mediation program plan or private mediation;

6. Status of all document discovery(parties are encouraged to
promptly exchange core document information and, where
necessary, to promptly issue requests for production of
documents and subpoenas duces tecum to third parties);

7. Any anticipated discovery problems (i.e., the necessity of
protective orders, the necessity of inspection of facilities,
witness unavailability, delays which.may be occasioned.because
of an individual's physical or mental condition, etc.):

 

zSimilarly, questions of class certification, qualified
immunity, or conflict of interest should be raised at the first
possible occasion and. no later than the initial Rule l6(b)
scheduling conference.

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8. Estimated trial time, and any special issues anticipated in
connection with trial; and

9. Any pending motions or motions which may be raised orally at
the conference.

VII. ORDER TO BE ENTERED

An order will be entered reflecting' the results of the
scheduling conference. The order will include deadlines for filing
motions and completing discovery, and the establishment of pretrial
conference and trial dates. Attached.as Exhibit “A" to this notice
is a Form Rule lE(b) Scheduling Order which counsel may use as a
proposed order after developing appropriate agreed-upon deadlines.

VIII. SANCTIONS FOR FAILURE TO APPEAR

Failure to appear at the scheduling conference, or to comply
with the directions of the Court set forth herein, may result in an
§§ parte hearing being held and the entry of such order as is just,
including a judgment of dismissal with prejudice or entry of a
default judgment, or other appropriate sanctions, such as
attorney's fees and expenses of opposing counsel, without further
notice to the party who fails to appear.

Page -4-

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

Plaintiff,

vs. No.

whalenvava

Defendant.

 

MODEL SCHEDULING ORDER FOR ROUTINE CASES
[This contemplates a Rule 16(b) scheduling conference
to be held within 60 days of the filing of
the complaint and trial within 12-14 months
of the filing of the complaint.]

 

Pursuant to written notice, a scheduling conference was held
. Present were , counsel for
plaintiff, and , counsel for defendants. At the
conference, the following dates were established as the final dates
for:
J:NITIAL DISCLOSURES PURSUANT To Fed.R.civ.P. 26(a) (1):
14 days after the 26(f) conference. If not made before the
Rule 16(b) conference, then 14 days after the Rule 16(b)
conference.
JOINING PARTIES: within 2 months after conference
AMENDING PLEADINGS: within 2 months after conference

INITIAL MOTIONS TO DISMISS: within 3 months after conference

COMPLETING ALL DISCOVERY: within 6 to 8 months after conference

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(a) DOCUMENT PRODUCTION: (Same as discovery deadline or at
intervals during the discovery period)

(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR
ADMISSIONS: (Same as discovery deadline or at
intervals during the discovery period)

(c) EXPERT WITNESS DISCLOSURE (Rule 26):

(l) DISCLOSURE OF PLAINTIFF'S RULE 26 EXPERT
INFORMATION: 2 months before after close of
discovery

(2) DISCLOSURE OF DEFENDANT'S RULE 26 EXPERT
INFORMATION: 1 month before close of discovery

(3) EXPERT WITNESS DEPOSITIONS: by discovery deadline
FILING DISPOSITIVE MOTIONS: Within 1 month of close of discovery
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery
cutoff date. All. motions, requests forl admissions, orl other
filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to
respond by the time permitted by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the
discovery deadline or within 30 days of the default or the service
of the response, answer, or objection, which is the subject of the
motion, if the default occurs within 30 days of the discovery
deadline, unless the time for filing of such,motion is extended for
good cause shown, or the objection to the default, responsel
answer, or objection shall be waived.

This case is set for jury/non-jury trial. The pretrial order
date, pretrial conference date, and trial date will be set by the
presiding judge.

This case is appropriate for ADR. The parties are directed to
engage in court-annexed attorney mediation or private mediation
after the close of discovery.

The parties are reminded that pursuant to Local Rule
ll(a)(l}(A), all motions, except motions pursuant to Fed. R. Civ.
P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

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The opposing party may file a response to any motion filed in
this matter. Neither party may file an additional reply, however,
without leave of the court. If a party believes that a reply is
necessary, it shall file a motion for leave to file a reply
accompanied by a memorandum setting forth the reasons for which a
reply is required.

The parties have/have not consented to trial before the
magistrate judge.

This order has been entered after consultation with trial
counsel pursuant to notice. Absent good cause shown, the
scheduling dates set by this order will not be modified or
extended.

IT IS SO ORDERED»

 

TU M. PHAM
UNITED STATES MAGISTRATE J'UDGE
DATE:

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CV-02351 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

Donald A. Donati
DONATI LAW FIRM LLP
1545 Union Ave.
Memphis7 TN 3 8104

William B. Ryan

DONATI LAW FIRM, LLP
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Memphis7 TN 3 8104

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THE BOGATIN LAW FIRM
1661 International Place Dr.
Ste. 300

Memphis7 TN 38120

Honorable Samuel Mays
US DISTRICT COURT

